       Case 1:04-cr-00113-DLC Document 146 Filed 10/21/20 Page 1 of 5



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                    :
 UNITED STATES OF AMERICA           :
                                    :
                                    :                   04cr113 (DLC)
                -v-                 :
                                    :                MEMORANDUM OPINION
 WILLIE BROWN,                      :                     AND ORDER
                                    :
                        Defendant. :
                                    :
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DENISE COTE, District Judge:

      Willie Brown seeks a reduction in his sentence pursuant to

18 U.S.C. § 3582(c)(2).      For the following reasons, that motion

is denied.

      In February 2006, Brown entered a plea of guilty to

distribution and possession with intent to distribute 5

kilograms or more of cocaine, in violation of 21 U.S.C. §

841(b)(1)(A), and possession of a firearm in furtherance of a

drug trafficking crime, in violation of 18 U.S.C. § 924(c).             As

reflected in the Presentence Report, Brown’s base offense level

for the § 841(b)(1)(A) conviction was 38.         That base offense

level was increased by four levels for his leadership role in

the offense and decreased by three levels for acceptance of

responsibility.    Accordingly, Brown’s total offense level was

39.   When paired with his Criminal History Category of I, the
         Case 1:04-cr-00113-DLC Document 146 Filed 10/21/20 Page 2 of 5



applicable United States Sentencing Guidelines (“USSG”) range

was 262-327 months’ imprisonment.

       In October 2007, Brown was sentenced before the Honorable

Richard Owen principally to a term of 200 months’ imprisonment

for the violation of § 841(b)(1)(A) and 60 months’ imprisonment

for the violation of § 924(c). 1        Brown’s sentence for the

violation of § 841(b)(1)(A) was to be served concurrently with a

168-month term of imprisonment stemming from a separate

conviction in the Southern District of Georgia.            The sentence

for violation of § 924(c) was to run consecutively to those

sentences.

       In 2014, the United States Sentencing Commission issued

Amendment 782, reducing by two the offense levels for certain

controlled-substances offenses.         See U.S. Sentencing Guidelines

Manual supp. to app. C, amend. 782 (U.S. Sentencing Comm’n

2016).     The Sentencing Commission also issued Amendment 788,

providing for the retroactive application of Amendment 782.               Id.

amend. 788.

       In April 2015, Brown filed a motion for reduction of

sentence pursuant to § 3582(c)(2).          He argues that a sentence

reduction is appropriate because the base level used to




1   The case was reassigned to this Court on July 1, 2020.

                                       2
      Case 1:04-cr-00113-DLC Document 146 Filed 10/21/20 Page 3 of 5



calculate his guidelines sentencing range, level 36, has been

reduced by two levels to level 34.

     Under § 3582(c)(2), a district court may reduce the

sentence of “a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently

been lowered by the Sentencing Commission.”        A defendant is

ineligible for a reduction, however, that would “reduce the

defendant’s term of imprisonment . . . to a term that is less

than the minimum of the amended guideline range.”         U.S.S.G. §

1B1.10(b)(2)(A).   And, “[a]ll [USSG] Guidelines decisions from

the original sentencing remain in place, save the sentencing

range that was altered by retroactive amendment.”         Freeman v.

United States, 564 U.S. 522, 531 (2011).        The relevant metric

for the purpose of computing the amended guidelines range “is

not the base offense level or any other intermediate step in the

guideline calculation, but the bottom-line, final range that was

the basis for the sentence.”      United States v. Jarvis, 883 F.3d

18, 21 (2d Cir. 2018) (citation omitted).

     Brown is not entitled to a sentence reduction.          Applying

Amendment 782, Brown’s total offense level is now 37.          That

figure, with a Criminal History Category of I, yields an amended

guidelines range of 210-262 months’ imprisonment.         Because

Brown’s sentence on the § 841(b)(1)(A) count was 200 months’



                                    3
         Case 1:04-cr-00113-DLC Document 146 Filed 10/21/20 Page 4 of 5



imprisonment, that is, below the bottom of the amended

guidelines range, Brown is not eligible for a reduction of his

sentence pursuant to § 3582(c)(2).

                                  Conclusion

     Brown’s April 8, 2015 motion pursuant to § 3582(c)(2) is

denied.     Because Brown has not made a substantial showing of a

denial of a federal right, a certificate of appealability will

not issue.     Hoffler v. Bezio, 726 F.3d 144, 154 (2d Cir. 2013);

Tankleff v. Senkowski, 135 F.3d 235, 241 (2d Cir. 1998);

Rodriguez v. Scully, 905 F.2d 24, 24 (2d Cir. 1990).             Pursuant

to 28 U.S.C. § 1915(a)(3) any appeal from this Order would not

be taken in good faith.        Coppedge v. United States, 369 U.S.

438, 444 (1962).

Dated:       New York, New York
             October 21, 2020


                                           ____________________________
                                                    DENISE COTE
                                           United States District Judge




                                       4
      Case 1:04-cr-00113-DLC Document 146 Filed 10/21/20 Page 5 of 5




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